Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 1 of 13 PageID 888




             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF FLORIDA
                  Case No. 8:20-cv-2184-MSS-SPF

MELANIE MOORE

      Plaintiff,

v.

POOCHES OF LARGO, INC.
& LUIS MARQUEZ,

     Defendants.
_________________________________________/

     DEFENDANTS’ ANSWER & AFFIRMATIVE DEFENSES TO
         PLAINTIFF’S SECOND AMENDED COMPLAINT

      Defendants     Pooches    of   Largo,   Inc.   and   Luis   Marquez

(“Defendants”) hereby answer each of the number paragraphs of

Plaintiff Melanie Moore’s Second Amended Complaint (“Complaint”)

and asserts affirmative defenses. Defendants deny that the Plaintiff’s

claims have merit and further denies that Plaintiff is entitled to any

form of relief. Except as explicitly admitted herein, each and every

allegation is denied.

                                 ANSWER

                          NATURE OF ACTION

      1.    Denied
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 2 of 13 PageID 889




      2.    Denied.

      3.    Denied.

                      JURISDICTION AND VENUE

      4.    Admitted.

      5.    Admitted.

      6.    Admitted.

      7.    Admitted.

      8.    Admitted.

      9.    Admitted.

                                 PARTIES

      10. Admitted only to the extent Plaintiff was employed by

Petland for three weeks in August 2018. Otherwise, denied.

      11. Denied as to Defendant Luis Marquez being an employer

under the FLSA. Otherwise, admitted.

      12. Neither admission nor denial is needed.

      13. Admitted that Petland is engaged in interstate commerce.

Otherwise, denied.

                                  FACTS

      14. Denied.

      15. Denied.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 3 of 13 PageID 890




      16. Denied.

      17. Denied.

      18. Denied.

      19. Denied.

      20. Denied.

      21. Denied.

      22. Denied.

      23. Denied.

      24. Denied.

      25. Denied.

      26. Denied.

      27. Denied.

      28. Denied.

      29. Denied.

      30. Denied.

      31. Denied.

      32. Denied.

      33. Defendants lack information to admit or deny.

      34. Admitted.

      35. Admitted that Defendants responded. Otherwise, denied.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 4 of 13 PageID 891




      36. Denied.

      37. Denied.

      38. Denied.

      39. Denied.

      40. Denied.

      41. Denied.

      42. Denied.

      43. Admitted that Defendants sent the pay stub. Otherwise,

denied.

      44. Defendants lack information to admit or deny.

      45. Defendants lack information to admit or deny.

      46. Defendants lack information to admit or deny.

      47. Admitted that Mr. Celler contact Defendants’ counsel.

Otherwise, Defendants lack information to admit or deny.

      48. Defendants lack information to admit or deny.

      49. Defendants lack information to admit or deny.

      50. Admitted that Defendants sent Plaintiff a cease-and-desist

letter. Otherwise, denied.

      51. Denied.

      52. Denied.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 5 of 13 PageID 892




      53. Denied.

      54. Admitted that Plaintiff emailed Defendants’ counsel and

that Defendant’s counsel responded to the email. Otherwise, denied.

      55. Denied.

      56. Denied.

      57. Denied.

      58. Denied.

      59. Denied.

      60. Denied.

      61. Denied.

      62. Denied.

      63. Denied.

      Count I (Failure to Pay Minimum Wage, Federal Claim)

      64. Denied.

      65. Denied.

      66. Denied.

      67. Denied.

      68. Denied.

      69. Denied.

      70. Denied.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 6 of 13 PageID 893




      71. Denied.

      72. Denied.

      73. Denied.

      74. Denied.

      75. Denied.

      76. Denied.

      77. Denied.

       Count II (Failure to Pay Minimum Wage, State Claim)

      78. Denied.

      79. Denied.

      80. Denied.

      81. Denied.

      82. Denied.

      83. Denied.

      84. Denied.

      85. Denied.

      86. Denied.

      87. Denied.

      88. Denied.

      89. Denied.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 7 of 13 PageID 894




      90. Denied.

      91. Denied.

      92. Denied.

      93. Denied.

                         Count III (Civil Theft)

      94. No response is required as this count was dismissed.

      95. No response is required as this count was dismissed.

      96. No response is required as this count was dismissed.

      97. No response is required as this count was dismissed.

      98. No response is required as this count was dismissed.

      99. No response is required as this count was dismissed.

      100. No response is required as this count was dismissed.

      101. No response is required as this count was dismissed.

      102. No response is required as this count was dismissed.

      103. No response is required as this count was dismissed.

      104. No response is required as this count was dismissed.

      105. No response is required as this count was dismissed.

      106. No response is required as this count was dismissed.

      107. No response is required as this count was dismissed.

      108. No response is required as this count was dismissed.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 8 of 13 PageID 895




      109. No response is required as this count was dismissed.

      110. No response is required as this count was dismissed.

      111. No response is required as this count was dismissed.

      112. No response is required as this count was dismissed.

      113. No response is required as this count was dismissed.

      114. No response is required as this count was dismissed.

      115. No response is required as this count was dismissed.

      116. No response is required as this count was dismissed.

      117. No response is required as this count was dismissed.

      118. No response is required as this count was dismissed.

      119. No response is required as this count was dismissed.

      120. No response is required as this count was dismissed.

      121. No response is required as this count was dismissed.

      122. No response is required as this count was dismissed.

                         Count IV (Conversion)

      123. No response is required as this count was dismissed.

      124. No response is required as this count was dismissed.

      125. No response is required as this count was dismissed.

      126. No response is required as this count was dismissed.

      127. No response is required as this count was dismissed.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 9 of 13 PageID 896




               Count V (Fraudulent Misrepresentation)

      128. Denied.

      129. Denied.

      130. Denied.

      131. Denied.

      132. Denied.

      133. Denied.

      134. Denied.

      135. Denied.

      136. Denied.

           Count VI (Tortious Interference with Contract)

      137. No response is required as this count was dismissed.

      138. No response is required as this count was dismissed.

      139. No response is required as this count was dismissed.

      140. No response is required as this count was dismissed.

      141. No response is required as this count was dismissed.

      142. No response is required as this count was dismissed.

      143. No response is required as this count was dismissed.

      144. No response is required as this count was dismissed.

      145. No response is required as this count was dismissed.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 10 of 13 PageID 897




       146. No response is required as this count was dismissed.

       147. No response is required as this count was dismissed.

       148. No response is required as this count was dismissed.

       149. No response is required as this count was dismissed.

       150. No response is required as this count was dismissed.

       151. No response is required as this count was dismissed.

       152. No response is required as this count was dismissed.

       153. No response is required as this count was dismissed.

       154. No response is required as this count was dismissed.

       155. No response is required as this count was dismissed.

       156. No response is required as this count was dismissed.

       157. No response is required as this count was dismissed.

       158. No response is required as this count was dismissed.

       159. No response is required as this count was dismissed.

       160. No response is required as this count was dismissed.

       161. No response is required as this count was dismissed.

                   Count VII (Malicious Prosecution)

       162. No response is required as this count was dismissed.

       163. No response is required as this count was dismissed.

       164. No response is required as this count was dismissed.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 11 of 13 PageID 898




       165. No response is required as this count was dismissed.

       166. No response is required as this count was dismissed.

       167. No response is required as this count was dismissed.

       168. No response is required as this count was dismissed.

       169. No response is required as this count was dismissed.

       170. No response is required as this count was dismissed.

       171. No response is required as this count was dismissed.

       172. No response is required as this count was dismissed.

       173. No response is required as this count was dismissed.

       174. No response is required as this count was dismissed.

       175. No response is required as this count was dismissed.

       176. No response is required as this count was dismissed.

       177. No response is required as this count was dismissed.

       178. No response is required as this count was dismissed.

       179. No response is required as this count was dismissed.

       180. No response is required as this count was dismissed.

                       AFFIRMATIVE DEFENSES

       1.   One or more claims fails to state a cause of action.

       2.   The FLSA action is time-barred and subject to a 2-year

 statute of limitation.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 12 of 13 PageID 899




       3.   The    FLSA      claim   fails    because       the   Plaintiff   was

 compensated for all time worked.            Plaintiff’s only two stubs have

 already been filed in this lawsuit. A live check was provided for the

 first pay period. A direct deposit was used for the second pay period.

       4.   No evidence of willfulness under the FLSA.

       5.   Defendant’s conduct was in good faith and not a willful

 violation of the FLSA.

       6.   Defendant Marquez is not an “employer” within the

 meaning of the FLSA, Florida’s wage law, or fraud.

       7.   As to the fraud claim, it is not sufficiently pled.

       8.   As    to   the   fraud   claim,     the   job    posting    (even   if

 authenticated) is not actionable as fraud.

       9.   Damages for Counts I and II, if any, are limited to purely

 economic damages for unpaid wages.

       10. As to the fraud claim, Plaintiff to mitigate her damages.

       11. Defendants reserve their rights to amend as warranted.

       12. Defendants both demand their attorneys’ fees and costs to

 the maximum extent permitted by law.

                              /s/ Matthew Sarelson
                              Matthew Seth Sarelson, Esq.
                              DHILLON LAW GROUP, INC.
Case 8:20-cv-02184-MSS-SPF Document 62 Filed 03/02/23 Page 13 of 13 PageID 900




                             Counsel for Defendants
                             1601 Forum Place, Suite 403
                             West Palm Beach, Florida 33401
                             305-773-1952
                             msarelson@dhillonlaw.com
                             Florida Bar No. 888281
